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                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

In re:                                                           Case No. 14-32212-H3-13
         Ray Rosa

                      Debtor(s)



              CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        William E. Heitkamp, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:

         1) The case was filed on 04/23/2014.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 07/31/2014.

         6) Number of months from filing to last payment: 2.

         7) Number of months case was pending: 5.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $20,942.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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Receipts:

           Total paid by or on behalf of the debtor                             $450.00
           Less amount refunded to debtor                                         $0.00

NET RECEIPTS:                                                                                                            $450.00



Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                             $0.00
     Court Costs                                                                       $0.00
     Trustee Expenses & Compensation                                                  $13.05
     Other                                                                             $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                                         $13.05

Attorney fees paid and disclosed by debtor:                               $0.00



Scheduled Creditors:
Creditor                                                Claim         Claim            Claim          Principal             Int.
Name                                    Class         Scheduled      Asserted         Allowed           Paid                Paid
ACCOUNTS RECEIVABLES CONSUL         Unsecured             1,400.00           NA                 NA                0.00             0.00
ALLSTATE INSURANCE COMPANY          Unsecured             4,920.17           NA                 NA                0.00             0.00
ATLAS ACQUISITIONS LLC              Unsecured                  NA         807.04             807.04               0.00             0.00
ATLAS ACQUISITIONS LLC              Unsecured                  NA       1,071.38           1,071.38               0.00             0.00
BANK OF AMERICA                     Unsecured             2,195.37           NA                 NA                0.00             0.00
BILL DEMBSKI                        Unsecured                 0.00           NA                 NA                0.00             0.00
COMCAST                             Unsecured               590.87           NA                 NA                0.00             0.00
CREDIT PROTECTION ASSOCIATION       Unsecured               590.00           NA                 NA                0.00             0.00
DEPT OF EDUCATION/NELN              Unsecured            10,011.80           NA                 NA                0.00             0.00
DEPT OF EDUCATION/NELN              Unsecured             4,905.00           NA                 NA                0.00             0.00
DR RANDALL MADSEN                   Unsecured                 0.00           NA                 NA                0.00             0.00
FIRST CONVENIENCE BANK              Unsecured               897.51           NA                 NA                0.00             0.00
FIRST PREMIER BANK                  Unsecured               679.00           NA                 NA                0.00             0.00
JEFFERSON CAPITAL SYSTEMS LLC       Unsecured                  NA       1,001.82           1,001.82               0.00             0.00
JOHN NELSON                         Unsecured                 0.00           NA                 NA                0.00             0.00
JP MORGAN CHASE BANK                Unsecured             1,453.90           NA                 NA                0.00             0.00
LABORATORY CORPORATION OF AM        Unsecured                43.93           NA                 NA                0.00             0.00
MED ONE CAPITAL                     Unsecured            44,000.00           NA                 NA                0.00             0.00
MEMORIAL HERMANN CREDIT UNIO        Unsecured               803.00           NA                 NA                0.00             0.00
MERCHANTS & PROFESSIONAL            Unsecured                43.00           NA                 NA                0.00             0.00
MICHELLE PURVIS                     Unsecured            13,500.00           NA                 NA                0.00             0.00
MICHELLE SCOTT                      Unsecured                 0.00           NA                 NA                0.00             0.00
MONARCH RECOVERY MANAGEMEN          Unsecured               679.00           NA                 NA                0.00             0.00
NIMESH PATEL MD                     Unsecured                 0.00           NA                 NA                0.00             0.00
QUANTUM3 GROUP                      Unsecured                  NA       4,440.24           4,440.24               0.00             0.00
RECOVERY SERVICES INC               Unsecured               217.54           NA                 NA                0.00             0.00
RONALD CHARLES MD                   Unsecured                 0.00           NA                 NA                0.00             0.00
SOUTHWESTERN BELL TELEPHONE         Unsecured               285.78           NA                 NA                0.00             0.00
TEXAS GUARANTEED STUDENT LOA        Unsecured            37,894.00     39,696.09          39,696.09               0.00             0.00
TXU ENERGY                          Unsecured               716.00           NA                 NA                0.00             0.00
US DEPARTMENT OF EDUCATION          Unsecured            18,192.00     18,920.69          18,920.69               0.00             0.00



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Scheduled Creditors:
Creditor                                          Claim           Claim         Claim         Principal         Int.
Name                                    Class   Scheduled        Asserted      Allowed          Paid            Paid
US RECOVERY                       Unsecured           507.00             NA             NA            0.00             0.00
WELLS FARGO BANK NA               Unsecured         1,699.00             NA             NA            0.00             0.00
WESTLAKE SERVICES INC             Secured           6,507.81        8,246.04       8,246.04         114.36             0.00
WESTLAKE SERVICES INC             Secured          15,907.83       18,316.38      18,316.38         322.59             0.00



Summary of Disbursements to Creditors:
                                                                   Claim             Principal                 Interest
                                                                 Allowed                 Paid                     Paid
Secured Payments:
       Mortgage Ongoing                                             $0.00               $0.00                    $0.00
       Mortgage Arrearage                                           $0.00               $0.00                    $0.00
       Debt Secured by Vehicle                                 $26,562.42             $436.95                    $0.00
       All Other Secured                                            $0.00               $0.00                    $0.00
TOTAL SECURED:                                                 $26,562.42             $436.95                    $0.00

Priority Unsecured Payments:
        Domestic Support Arrearage                                  $0.00                 $0.00                  $0.00
        Domestic Support Ongoing                                    $0.00                 $0.00                  $0.00
        All Other Priority                                          $0.00                 $0.00                  $0.00
TOTAL PRIORITY:                                                     $0.00                 $0.00                  $0.00

GENERAL UNSECURED PAYMENTS:                                    $65,937.26                 $0.00                  $0.00



Disbursements:

           Expenses of Administration                                    $13.05
           Disbursements to Creditors                                   $436.95

TOTAL DISBURSEMENTS :                                                                                        $450.00




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         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 10/07/2014                                  By: /s/ William E. Heitkamp
                                                                             Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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